USDC IN/ND case 3:12-cr-00051-RLM-MGG        document 53   filed 07/09/12   page 1 of 1


                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION


 UNITED STATES OF AMERICA                )
                                         )
             v.                          )       CAUSE NO. 3:12-CR-51 RM
                                         )
 JAVON D. THOMAS (01)                    )


                                      ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty issued on June 12, 2012. Accordingly, the

 court ADOPTS those findings and recommendations [docket # 38], ACCEPTS

 defendant Javon Thomas’ plea of guilty, and FINDS the defendant guilty of Count

 1 of the Indictment, in violation of 18 U.S.C. §§ 924(c) and 2.

       SO ORDERED.

       ENTERED:      July 9, 2012



                                  /s/ Robert L. Miller, Jr.
                                Judge, United States District Court
